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'l`he U_pIpCr Deck Company and Rlchard P.
Mch lam
UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA /

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THE UPPER DECK CoMPANY, a CASE No.
California co oration and
RICHARD P. CWIELIAM, CoMPLAINT FoR:

individually, and as Trustee for the MPR

Trust, l DECLARATORY RELIEF'
_ _ 2 BREACH OF INSURANCE

Plalntlffs. CONTRACT'

(3) TORTIOUS I§REACH OF THE

v. COVENANT OF GOOD FAITH

AMERICAN INTERNATIONAL IN THAT INSURANCE
SPECIALTY LINES INSURANCE CONTRACT
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DEMAND FOR JURY TRIAL

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Det`endants.

 

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The Upper Deck Company, a Califomia corporation, and Richard P.

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McWilliam, individually and as trustee of the MPR Trust, for their complaint

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against defendant Arnerican International Specialty Lines Insurance Company and

l\)
.L~.

Does l through l(), inclusive, allege and pray as follows:
JURISDICTION AND VENUE

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action in which the amount in controver y exceeds the sum or value of $75,000,

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exclusive of interest and costs, and is be ween citizens of different States.

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l. Jurisdiction is proper based upon 28 U.S.C. § 1332, in that this is a civil

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2. Venue is proper in this judicial district pursuant to 28 U.S.C. § l39l(a)
in that a substantial part of the events or omissions giving rise to the claim occurred
in this district, and a substantial part of the property that is the subject of this action
is situated in this district

GENERAL ALLEGATIONS

3. Plaintiff The Upper Deck Company (“Upper Deck”) is a Califomia
corporation duly organized and in good standing under the laws of the State of
Califomia. Upper Deck’s principal place of business is now, and at all times
relevant hereto was, in the City of Carlsbad, Califomia

4. Plaintiff Richard P. McWilliam is an individual residing in the State of
Nevada.

5. Richard P. McWilliam also serves as trustee of plaintiff MPR Trust
(“Trustee”). Upper Deck and Richard P. McWilliam, individually and as Trustee,
are hereinafter referred to collectively as “Plaintiffs.”

6. Plaintiffs are informed and believe and based thereon allege that
defendant American Intemational Specialty Lincs Insurance Company (“AISLIC”)
is now, and at all times relevant hereto was, an Alaska corporation authorized to
underwrite insurance in the State of Califomia as a surplus lines insurer with its
principal place of business in New York, New York. However, plaintiffs are
informed and believe and based thereon allege that AISLIC is not authorized to
conduct the business of insurance in the State of New York and is not subject to the
supervision of insurance regulators in the State of New York.

7. The true names and capacities, whether individual, corporate, associate,
or otherwise, of Does l through 10, inclusive, are unknown to Plaintiffs, who
therefore Sue said defendants by such fictitious names. Plaintiffs will amend this
complaint to show the true names and capacities of Does l through 10, inclusive,
when they have been ascertained Plaintiffs are informed and believe and based

thereon allege that each of the fictitioust named defendants Does 1 through 10

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participated in and are in some manner responsible for the acts alleged in this
complaint and the damage resulting therefrom.

8. In or about October 2001, for good and valuable consideration
including the payment of $3,250,000 in premiums by the Plaintiffs (hereinafter
sometimes also referred to collectively as “Insureds”), AlSLlC issued its Fiscal
Event Insurance Policy no. 405-88-33 to the Insureds (the “Policy”). AlSLlC
represented to Plaintit`fs and Plaintiffs believed that AISLIC had designed the Policy
to insure against risks that federal and state taxing authorities would challenge the
tax benefits claimed by the Insureds to inure to the Insureds’ benefit as the result of
the Insureds’ implementation of a tax strategy designed by KPMG. LLP ("KPMG")
and referred to as “SCz.” Plaintiffs had implemented KPMG’s SC2 tax strategy in a
related series of transactions which had taken place earlier in the calendar year 2001.

9. The Policy contains an insuring agreement which is set forth in Section
l, INSURING AGREEMENT. The provisions of that insuring agreement are
quoted below; the quoted text has associated endnotes which include the Policy’s
definition of selected terms used in the insuring agreement; this convention is used
hereinafter in other quotations of the Policy’s language The insuring agreement
provides:

The Insurer [Anierican Interr_iational Specialty Lines
Insurance Company] shall.pa , subject to the applicable
Retent_ion (as defined_herein) and other terms and
conditions of this Policy“; the Loss of the Insureds“' _
arisin _from a'Claim first made a ainst any Insured during
the Po ic . Period [August 29, 20 l to at least November
30, 2006 "’_and reported to the Insurer pursuant to the _
terms of this Policy. The Insurer shall, in accordance with
and subject_to Clause 7 hereof, advance _Contes_t Expenses
of such _Cla_im excess of the Retention prior to its Final
Determination.

10. In a portion of the Policy captioned Section 8. PROCEDURE FOR
TIME OF PAYMENT, AISLIC promised that: “Payment of Loss required
hereunder shall be made to the Named Insured [Upper Deck Company] at the
address set forth in Item 1(a) of the Declarations [5909 Sea Otter Place, Car|sbad,

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CA 92008-6621].” AISLIC was, therefore, to perform its obligations under the
Policy iri this judicial district.

l l. The insured “Loss” defined in the Policy at Section 2. DEFINITIONS
1](1)" is comprised of three constituent parts, each of which is also defined in
Section 2. DEFINITIONS 1|1[ (j), (d) & (f) of the Policy respectively as: (l) ”Insured
Tax Loss”"i; (2) ”Contest Expenses”““; and (3) ”Gross-Ups.”""i

12. The Policy’s definitions of two of the constituent parts of “Loss,”
“Insured Tax Loss” and “Contest Expenses,” both make reference to an “Insured
Tax Event,” the definition of which is set forth in Endorsement No. l of the Policy

and relevant portions of which are quoted below:

_ ‘[nsured_ Tax E_vent’ means an assertion, at any time
during the Policy Period, b a Taxing Authority that with
respect to _the tax years 20 l throu h 2005, (a as _a_ result
of any action taken by the Named nsured or dditional
lnsureds prior to the nception Da_te [A_ugust 29, 2001],"‘
The Upper Deck Company a Califomia corporation
(“Upper Deck”) _has more than one class of stock for _

urpose_s of Sectiori 13_61 of the Code", . . . (c) deductions

or charitable contributions are r_iot allowable to_ th_e pre-
gift shareholder of U per Deck in the year of ift in an
amount equal to the air marl_<et value, reduce by an
adjustments ursuant to Section l_70(e)(l) of the Co e, of
such _shareho der’s gift of non-voting stock to the
Municipal Plan,. (d) the post- ift allocations of Upper
Deck’s taxable income to the unicipal Plar_i are not
correct or proper; . . ,, (e) as a result of the itt of the_
UIpper Deck non-voting common stock to t e Municipal
P an by the pre- ift shareholder, any Upper _Deck
sharehplder or pper Deck, itself, assi r_ied income to the
Municipal Plan . . . . For urposes oft is definition, the
term ‘p_re-gifi shareholder shall mean the MPR Trust; the
term’ gift’ shall mean the ift of 8,280 000 shares of non-
votin stock of Up er I_)c_c made by the pre-gift
share older to the unicipal Plan on March _l, 2001; and
the_total number of shares of Upper Deck voting and non-
voting common stock outstandin shall not include shares
of stock of Upper Deck that ma e acquired pursuant to
the _Warrant greement attache as Exhib_it D to this
Policy (“Warrant Shares”) unless and_ until any such
Warrant Shares are purchased and paid for pursuant to
such Warrant Agreement. . . .

13. On April 9, 2002, the IRS summoned KPMG to reveal the identity of

its clients, including the Plaintiffs, utilizing various tax strategies which had been

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promoted by KPMG, including the tax strategy referred to as “SC?'.” KPMG
notified Upper Deck of this on April 9 or 10, 2003, and Upper Deck in turn
promptly notified AISLIC no later than April 10, 2003.

14. Thereafter, the IRS published a list of those transactions it was going to
investigate -- Notice 2004-30 -- and Upper Deck and its voting shareholders
subsequently received various lnforrnation Document Requests from the IRS. The
IRS (a “Taxing Authoritymci as defined in the Policy) published Notice 2004-30 as
Internal Revenue Bulletin 2004-17 on April 26, 2004 (during the “Policy Period”).
Notice 2004-30 addresses and describes an “S Corporation Tax Shelter” which is the
SC2 tax strategy.

15. Notice 2004-30 is also the subject of a Coordinated Issue Paper (“CIP”)
issued by the IRS on November 8, 2004 (during the “Policy Period”) “discuss[ing]
the grounds for taxing the proper taxpayers on the income from the corporation’s
business and disallowing deductions the taxpayers improperly claim as a result of
participating in Notice 2004-30 transactions.”

16. The Policy’s definition of “Insured Tax Event” provides that an
“‘Insured Tax Event’ includes: an assertion, at any time during the Policy Period,
by a Taxing Authon`ty that with respect to the tax years 2001 through 2005, (a) as a
result of any action taken by the Named Insured or the Additional Insureds prior to
the Inception Date [August 29, 2003], The_Upper Deck Company, a Califomia
corporation (‘Upper Deck’) has more than one class of stock for purposes of
Section 1361 of the Code.”’ (Emphasis added.) Such an assertion was made in
Notice 2004-30 which stated that “the Service may also argue that the existence of
. . . [certain] warrants [issued by Upper Deck on March 29, 2001 - before the
Inception Date] result[ed] in a violation of the single class of stock requirements of
§ l361(b)(1)(D), thus terminating the corporation’s status as an S corporation See,
e.g., §§ 1.1361-1(1)(4)(ii) and (iii).” (Emphasis added.) The IRS’ assertion in this
regard was published in I.R.B. 2004-17 on April 26, 2004 during the Policy Period.

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17. The IRS’ Coordinated Issue Paper, issued November 8, 2004, further
explains the grounds for the IRS’ assertion: “[T]he capital structure created in the
Notice 2004-30 transaction violates the single class of stock requirement of
§ 1361(b)(l)(D) of the Interiial Revenue Code and § 1.1361-1(1) of the Income Tax
Regulations. The S corporation election will terminate on the date the second class
of stock is issued and the corporation will be treated as a C corporationl Thus, the
income will not be allocated to the shareholders and the income will be taxable to
the C corporation.” (CIP, pp. 1-2, 6.) (Emphasis added.) The Coordinated Issue
Paper states several points in support of this conclusion:

o [A] co_ oratio_n is treated_as having only one class of
stock 1 all of_its outstanding shares confer identical
rights to distributions and li uidation roc_eeds
§ .1_361-1(1)(1). Section l. 36_1-1(1) 4)(iii)(A)_ _
provides, in_ part, that a call opti_on, _warrant or similar
instrument issued b a corporation is treated a_s a _
second class of stoc of the corporation if, taking into
account all _of the facts and circumstances, the
instrument is substantially certain to be exercised by
the holder and has a strike rice_ substantially below the
fair market value of the un erlying stock on the date
that the instrument is issued.

o Thelyvarrants iri these transactions are a second class of
stoc .

(CIP, p. 7.) (Emphasis added.)

18. With respect-to all of its assertions (others being discussed below),
Notice 2004-30 states the lntemal Revenue “Service and the Treasury Department
recognize that some taxpayers may have filed tax returns taking the position they
were entitled to the purported tax benefits of the type of transaction described in this
notice. Those taxpayers should take appropriate corrective action and ensure that
their transactions are disclosed properly.” Notice 2004-30 also “alerts taxpayers and
their representatives that these transactions are tax avoidance transactions.”

Notice 2004-30 provides the “Service intends to challenge the purported tax benefits
from this transaction.”

19. Following publication of Notice 2004-30 on April 16, 2004, on

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August 5, 2004 (again during the “Policy Period”), correspondence from the
Department of the Treasury, the Internal Revenue Service (a “Taxing Authority”)
addressed to the Upper Deck Company and its counsel transmitted “three IDR
Forms 4564, numbered 8608B2, S608C, S701A” (the “August 2004 IDRs”). One
of the August 2004 IDRS, request S608B2, specified that the “lntemal Revenue
Service has identified certain transactions as ‘listed transactions’ for the purposes of
§ 1.601104(b)(2) of the Income Tax Regulations. The IRS considers transactions
that are the same as or substantially similar to listed transactions to be tax avoidance
transactions.”

20. Among the “listed transactions” identified iii IDR No. S608B2 were
those described in “Notice 2004-30, 2004-17 I.R.B. -- S Coiporation Tax Shelter”
which are discussed above. Request 860882 identifies its purpose as “to determine
whether The Upper Deck Company has directly or indirectly participated in
transactions that are the same as or substantially similar to any listed transaction,”
including Notice 2004-30. In correspondence dated August 6, 2004, addressed to
counsel for The Upper Deck Company, stating it pertained to “examination of
Upper Deck Co., Notice 2004-30 transactions,” the Department of the Treasury,
Intemal Revenue Service advised that the IRS “ha[d] begun an examination of the
tax returns indicated above [returns of Upper Deck Co.] with respect to transactions
described in Notice 2004-30[.] . . . See Notice 2004-30 for the government’s
position. The aforementioned examination is proceeding and must still be
concluded.” This August 2004 assertion by the IRS matches the definition of an
“lnsured Tax Event” set forth iii Endorsement No. 1,11 (a).

21. The IRS has therefore made multiple assertions that the warrants issued
by Upper Deck Company on March 29, 2001 were a second class of stock and these
assertions are an “lnsured Tax Event.”

22. 'I`he Policy also provides “‘Insured Tax Event’ means: an assertion, at

any time during the Policy Period, by a Taxing Authority that with respect to the tax

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years 2001 through 2005, . . . (c) deductions for charitable contributions are not
allowed to the pre-gift shareholder of Upper Deck in the year of gift in an amount
equal to the fair market value, reduced by any adjustments pursuant to

Section 170(e)(l) of the Code, of such shareholder’s gift of non-voting stock to the
Municipal Plan.” The IRS made such an assertion iii Notice 2004-30 which
describes a transaction in which “the original shareholders donate the non-voting
stock to the exempt party . . . . The original shareholders might also claim a
charitable contribution deduction under Section 170 for the donation of the non-
voting stock to the exempt party.” Notice 2004-30 further asserts: “The Service
intends to challenge the purported tax benefits from this transaction . . . .” The IRS’
Coordinated Issue Paper regarding Notice 2004-30 amplifies this assertion stating
“the transfer of nonvoting stock to the exempt party does not qualify as a deductible
charitable contribution pursuant to § 170 and should be disallowed.” (CIP, p. 2.)
The IRS explained that “to be a charitable contribution under § 170, a transfer to a
charitable organization must be a gift. . . . In a Notice 2004-30 transaction, the
nonvoting stock was not transferred to the exempt party with charitable intent.
[Rather], [t]he parties to the transaction entered into the transaction to generate a tax
benefit to the original shareholders, not to benefit the exempt paity. . . . [T]he
amount received by the exempt party was an accommodation fee, not a charitable
gift.” (CIP, pp. 8-9.) A “charitable contribution deduction taken on the transfer of
the nonvoting stock to the exempt party should be disallowed.” (CIP, p. 9.) 'l`he
Notice 2004-30’5 assertion by the IRS that there has been no charitable contribution
by Richard McWilliam was another “lnsured Tax Event.”

23. Similarly, the August 2004 IDRs reiterate the IRS Notice 2004-30’5
assertions that deductions for the shareholder gift of Upper Deck stocks to the
Municipal Plan should be disallowed

24. Thereafcer, in the April 7, 2005 correspondence (“April 7, 2005

Correspondence”), the Department of the Treasury, lntemal Revenue Service (again,

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a “Taxing Authon`ty”) informed all three Insureds that the IRS had “evaluated the
issues present in the transaction described in Notice 2004-30” and “propose[d] to
resolve issues related to the S corporation charitable contribution transactions,
including related penalties” by:
3. The transfer of non-voting stock to the tax

exempt arty does not qualify as a charitable contribution

g;igg; tlio [(13 `:]cizlcitlijc;na}lz)(zv aérciid no charitable contribution
This is another “Insured Tax Event” under Section 2. DEFINITIONS 1[ (c) of the
Policy.

25. The Policy’s definition of “‘Insured Tax Event’ [also provides that that
term] means: an assertion, at any time during the Policy Period, by a Taxing
Authority that with respect to the tax years 2001 through 2005, . . . (d) the post-gift
allocations of Upper Deck’s taxable income to the Municipal Plan are not correct or
proper; . . . .” Notice 2004-30 describes a transaction in which “the parties to the
transaction claim that, after the donation of the non-voting stock, the exempt party
owns 90 percent of the stock of the S corporation. . . . For tax purposes . . . during
that period, 90 percent of the S corporation’s income is allocated to the exempt party
and 10 percent of the S corporation’s income is allocated to the original
shareholders.” Notice 2004-30 asserts such a “transaction . . . is designed to
artificially shift the incidents of taxation on S corporation income away from taxable
shareholders to the exempt party. In this manner, the original shareholders attempt
to avoid paying income tax on most of the S corporation’s income over a period of
time. The Service intends to challenge the purported tax benefits from this
transaction.” The IRS’ Coordinated Issue Paper reiterates “the transfer of the S
corporation stock to the exempt party will be disregarded for Federal tax purposes
under judicial doctrines Consequently, the S corporation and original shareholders
entering into transactions that are the same as or substantially similar to those

described in Notice 2004-30 shall be treated as if there had been no transfer to the

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exempt party.” (CIP, pp. 1, 3-6.) The IRS’ asseition the “transaction . . . is
designed to artificially shift the incidents of taxation on S corporation income away
from taxable shareholders to the exempt party” is clearly an “Insured Tax Event.”

26. The IRS reiterated these assertions in its August 2004 IDRs and the
August 6 , 2004 correspondence which promptly followed the IDRS. That n
correspondence stated it pertained to “examinatiori of Upper Deck Co., Notice 2004-
30 transactions,” the Department of the Treasury, Intemal Revenue Service advised
that the IRS “ha[d] begun an examination of the tax returns indicated above [retums
of Upper Deck Co.] with respect to transactions described in Notice 2004-30[.] . . .
Notice 2004-30 states that the Service will challenge transactions iri which
S corporation shareholders attempt to transfer the incidents of taxation on
S corporation income by purportedly donating the S corporation non-voting stock to
an exempt organization[.] . . . See Notice 2004-30 for the government’s position.
The aforementioned examination is proceeding and must still be concluded.” This
August 2004 assertion by the IRS matches the definition of an “Insured Tax Event”
set forth in Endorsement No. l, 11 (d) [“post-gift allocations of Upper Deck’s taxable
income to the Municipal Plan are not correct or proper”j.

27. In the August 7, 2005 Correspondence (again, during the “Policy
Period”), the Department of the Treasury, Internal Revenue Service (again, a
“Taxing Authority”) informed all three Insureds that the IRS had “evaluated the
issues present in the transaction described in Notice 2004-30” and “propose[d] to
resolve issues related to the S corporation charitable contribution transactions,
including related penalties” by:

2. T_he transfer of the S corporate stock to the
exempt party i_s disregarded for federal tax urposes.
S corporation income will be allocated as i there had been
no transfer of stock to the exempt party.

This is yet another “Insured Tax Event” under Section 2. DEFINITIONS 11 (d) in the
Policy.

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28. The Policy’s definition of “‘lnsured Tax Event’ [also provides that that
term] means: an assertion, at any time during the Policy Period, by a Taxing
Authority that with respect to the tax years 2001 through 2005, . . . (e) as a result of
the gift of the Upper Deck’s non-voting common stock to the Municipal Plan by the
pre-gift shareholder, any Upper Deck shareholder of Upper Deck, itself, assigned
income to the Municipal Plan.” Notice 2004-30 describes a “transaction . . . in
which S corporation shareholders attempt to transfer the incidents of taxation on
S corporation income.” Notice 2004-30 “alerts taxpayers and their representatives
that these transactions are tax avoidance transactions” and are “designed to
artificially shift the incidents of taxation on S corporation income away from taxable
shareholders to the exempt party.” Notice 2004-30 states “the Service intends to
challenge the purported tax benefits of this transaction based on the application of
various theories, including judicial doctrines such as substance over form.” This
assertion by the IRS (again clarified by the IRS’ Coordinated Issue Paper (pp. l, 3-
6) was another “Insured Tax Event.”

29, ln the August 7, 2005 Correspondence (again, during the “Policy
Period”), the Department of the Treasury, Intemal Revenue Service (again, a
“Taxing Authority”) informed all three Insureds that the IRS had “evaluated the
issues present in the transaction described iri Notice 2004-30” and “propose[d] to
resolve issues related to the S corporation charitable contribution transactions,

including related penalties” by:
2. 'fhe transfer of the S corporate stock to the
exempt pa_rty 1_s disregarded for federal tax urposes.

S corporation income will be allocated as i there had been
no transfer of stock to the exempt party.

This is yet another “Insured Tax Event” under Section 2. DEFINITIONS 11 (e) in the
Policy.
30. The Policy provides, in Section 2. DEFINITIONS il (A):

‘Claim’ means any written notice_from the Taxing
Authority alleging any Insured m_ay be liable for Taxes,

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but only if such Taxes are directly related in whole or in
part to the Insured Tax Event.

(Emphasis added.)

31. The lnternal Revenue Service’s Apri126, 2004 publication of
Notice 2004-30 in Intemal Revenue Bulletin 2004-17 in conjunction with the
Intemal Revenue Service’s August 5, 2004 correspondence transmitting “three IDR
Forrns 4564, numbered S608B2, SGOSC and S701A” followed the next day by the
lntemal Revenue Service’s August 6, 2004 correspondence regarding “examinatiori
of Upper Deck Co. Notice 2004-30 transactions” and the same “Taxing Authority’s”
April 7, 2005 Correspondence (all during the “Policy Period”) leave no room for
ambiguity about there being “written notice from the Taxing Authority alleging any
Insured r_n_ay be liable for taxes.” (Emphasis added.) For reasons alleged above,
there is also no ambiguity that “such Taxes are directly related in whole or in part to
the Insured Tax Event.”

32. lmplicit in the Policy is an implied Covenant of Good Faith and Fair
Dealing pursuant to which AISLIC and Does l through 10, inclusive, impliedly
promised not to unreasonably interfere with Plaintiffs’ receipt of benefits under the
Policy (the “Implied Covenant”).

33. The magnitude of the “Insured Tax Loss”xii portion of the insured Loss
arising from the Insureds’ implementation of KPMG’s SC2 tax strategy due to the
“Claim” made against the Insureds by the IRS will exceed the $50 million limits of
the Policy by millions of dollars even before any ”Contest “Expenses”"iii“ or

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“Gross-Ups are included in the potential Loss. In the April 7, 2005
Correspondence, the IRS proposed to resolve the IRS’ Claim against the lnsureds in
a manner that would still result in an “Insured Tax Loss” well in excess of the $50
million limits of the Policy but nevertheless result in a multi-million dollar savings
in the “Insured Tax Loss” might otherwise be if the Internal Revenue Service

aggressively pushed and prevailed oii the issue that the Upper Deck Company had

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more than one class of stock for purposes of Section 1362 of the Code; the proposal
in the April 7, 2005 Correspondence would resolve the amount of the “Insured Tax
Loss” that would essentially concede that the Upper Deck Company did not have
more than one class of stock.]

34. The Insureds communicated the proposals in the IRS’ April 7, 2005
Correspondence to AISLIC, communicated the Insureds’ willingness to fund the
millions of dollars over and above the $50 million limit ofAISLIC’s Policy’s limits
required to resolve the IRS’ Claim on the terms of the April 7, 2005
Correspondence, and urged that AISLIC contribute its $50 million Policy limits to
avoid the potential for additional millions of dollars in “Insured Tax Loss”. The
Insureds also communicated to AlSLlC that AISLIC’s $50 million Policy limits
would be needed to consummate the settlement proposed in the IRS’s April 7, 2005
Correspondence

35. AISLIC communicated its consent to the Insureds’ acceptance of the
proposals in the April 7, 2005 Correspondence, but AlSLlC initially declined to
state if and when it would contribute its $50 million Policy limits, or any portion
thereof, to consummate the resolution of the IRS’ Claim in accordance with the
April 7, 2005 Correspondence,

36. By way of letter to Plaintiffs’ counsel from AISLIC’S counsel,
Peabody & Arnold, dated July 29, 2005, AISLIC denied that the Policy had any
application to the Claims asserted against the Insureds by the IRS or the Franchise
Tax Board and arising out of the Insureds’ implementation of KPMG’s SC2 tax
strategy and further denied any responsibility to or obligation to the Insureds for the
Losses arising from those Claims. AISLIC and Does l through 10 have thereby

repudiated their obligations under the Policy.

 

I_Because of the magnitude of the “Insured Tax Lo_ss"_ resulting from the IRS's
Clai_m, the Insureds have not alleged t_he details of a similar claim asserted by th_e
Taxing Authorities of the State o Califomia, the Franchise Tax Board, giving rise to
an_”lnsured Tax Loss” of millions of dollars; however, the Insureds also allege the
existence of such a loss.

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37. No Policy exclusions apply to the insured Losses for the Claim asserted
by the IRS.2

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FIRST CAUSE OF ACTION
(Against AISLIC and DOES l through 10, inclusive,
for Declaratory Relief)
38. Plaintiffs reallege paragraphs 1 through 37 above and incorporate them
in this First Cause of Action as though fully set forth herein.

39. A justiciable controversy has arisen between the lnsureds, on one hand,

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and AISLIC and Does l through 10, on the other hand, regarding the obligations

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owed to the Insureds by AISLIC and Does l through 10 under the Policy in

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connection with the Claim asserted by the Intemal Revenue Service against the

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Insureds.
40. The Insureds believe, contend, and allege that AlSLlC and Does l

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through 10 have a contractual obligation under the Policy to pay not less than the

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$50 million limit of liability provided for in the Policy as an “Insured Tax Loss” to

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fund the resolution of the IRS’ Claim against the Insureds according to the terms of

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the resolution proposed in the IRS’ April 7, 2005 Correspondence and accepted by

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the Insureds with the consent of AlSLlC.

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41. Plaintiffs are informed and believe and thereon allege that AISLIC and

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Does 1 through 10, inclusive, now contend that they have no contractual obligation

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under the Policy to pay or fund any portion of the resolution of the IRS’ Claim in

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the manner provided for in the IRS’ April 7, 2005 Correspondence

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42. Unless the rights of the Insureds under the Policy and the obligations of

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AlSLlC and Does l through 10, inclusive, under the Policy are resolved,

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consummation of the resolution of the IRS’ Claim in the manner provided for in the

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April 7, 2005 Correspondence is and will be jeopardized with the potential

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2Nor do any Policy exclusions apply to the insured Losses for the Claim asserted
by the Franchise Tax Board.

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1 consequences of the imposition of millions of dollars in additional liability on the
2 Insureds - liability for which AlSLlC and Does l through 10 deny they have any
3 responsibility
4 43. A judicial declaration of the rights and obligations of the lnsureds,
5 AISLIC and Does l through 10, inclusive, is necessary immediately to avoid
6 potential loss and hardship to the parties.
7 44. The Policy includes a Section 16. ARBITRATION AND CHOICE OF
8 LAW which provides as follows:
9 _ It is hereb _understoo_d and agreed that all disputes
or_ differences w ich m_ay arise under or in connection with
10 this Policy, whether arising before or after termination,
including an determination of the_ amount of Loss, shall
11 be submitte to the American Arbitration Associatior_i iii
New York, New York under and i_n accordance with its
12 commercial arbitration rules then_in effect. On any
specific dispute or claim, the parties shall agree on
13 whether there shall be one or three arbitrators If the
parties cannot a r_ee on the number of arbitrators there
14 shall be three ar itrators. The arbitrator(s) Shall e
disinterestcd, shall have knowledge of the legal, tax, and
15 insurance issues relevant to the matters in dispute or the
clairr_i, and shall otherwise be ch_oser_i in the manner_
16 provided in such rul_es. The arbitration shall be sub ect_to
the Fede_ral Arbitration Act and to the extent such ct is
17 not applicable, the_ laws of the State of New_York. The
construction validit and performance of this Policy shall
18 be governed by the aws of the _State of New York, _
provided, however, th_at the Polic shall be construed in
19 the manner most_ consistent with t e relevant terms, _
conditions provisions or exclusions of the Poli_c}y, without
20 regard to the authorship o_f the languagc and wit out any
presumption i_n favor of either party. _ o award of the
21 arbitrators or judgment of any court with respect to any
award, dispute _or controversy shall'be_ entered i_n_ an
22 amount exceeding the applicable Limit of Liability set
forth in this_Policy. The nsurer shall have no obligation
23 to pay or reimburse any Insured_’s legal_ expenses incut'red
in mediating or arbitrating a claim or dis ute under this
24 Polic , except to the extent specified int e arbitrator(s)
awar , in,which event such legal ex enses will be
25 included in the Loss payable by the _nstirer in_ accordance
with, and subject to t e Retention,_Limit of _Liabil_ity and
26 other terms, conditions and exclusions of this Policy.
27 45. Consistent with the Policy’s Section 16. ARBITRATION AND
28 CHOICE OF LAW, the Insureds are prepared to arbitrate the “Loss” owed by
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AISLIC’s and Does l through 10 to the Insureds under the Policy with respect to an
anticipated final resolution of the IRS’s Claim consistent with the April 7, 2005
Correspondence and will conditionally stipulate to an order requiring AISLIC, Does
l through 10 and the Insureds to arbitrate that sole issue before a panel of three
arbitrators - with a reservation of jurisdiction in this Couit to resolve all other
disputes between the parties including but not limited to the Insureds’ rights to any
extra-contractual recovery, including but not limited to punitive damages and

attorneys fees. Altematively, the Insureds are willing to, and prefer to, litigate all

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issues in the Federal District Court.

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46. Plaintiffs are informed, believe, and thereon allege that AlSLlC and

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Does l through 10 contend that a portion of the language of Section 16.
ARBITRATION AND CHOICE OF LAW (“No award of the arbitrators or

judgment of any court with respect to any award, dispute or controversy shall be

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entered in an amount exceeding the applicable Limit of Liability set forth in the

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Policy. The Insurer shall have no obligation to pay or reimburse any Insured’s legal

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expenses incurred in mediating or arbitrating a claim or dispute under this Policy,

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except to the extent specified in the arbitrator(s) award, in which event such legal

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expenses will be included in the Loss payable by the Insurer in accordance with, and

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subject to the Retention, Limit of Liability and other terms, conditions and

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exclusions of, this Policy.”) - the “Limitation Clause” - precludes any arbitration

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award or judgment in favor of Plaintiffs exceeding the Sum of $50,000,000

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regardless of the amount or nature of the damages, contractual, consequential, or

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extra-contractual, caused to the Insureds by AISLIC’s and Does l through 10’s

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behavior arising under or in connection with the Policy.

47. Plaintiffs allege that the “Limitation Clause” as interpreted by AlSLlC

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is illegal, unconscionable and unenforceable under both Califomia and New York

law under Califomia Civil Code section 16683 and similar provisions of Califomia’s

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and New York’s statutory and common laws Plaintiffs do not stipulate to any order
divesting the trial court of jurisdiction to finally adjudicate the proper interpretation
or enforceability of the “Limitation Clause” and Plaintiffs reserve all rights to have
such issues resolved by this Court. Plaintiffs allege that they are entitled to a
declaration of this Court that the “Limitation Clause” does not preclude an
arbitration award or judgment in favor of Plaintiffs in an amount exceeding the sum
of 350,000,000 if in fact the damages caused to the Insureds by AlSLlC’s and Does

l through 10’s behavior caused damages in excess of that amount. Plaintiffs request

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that any order compelling arbitration of any aspect of the parties’ dispute declare

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that the “Limitation Clause” does not so limit the arbitration panel.

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48. Plaintiffs are informed, believe, and thereon alleged that AISLIC and

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Does l through 10 contend that both the Limitation Clause and another portion of
the language in Section 16. ARBITRATION AND CHOICE OF LAW (“The

arbitration shall be subject to the Federal Arbitration Act and, to the extent such Act

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is not applicable, the laws of the State of New York. The construction validity and

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performance of this Policy shall be governed by the laws of the State of New York,

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provided, however, that the Policy shall be construed in the manner most consistent

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with the relevant tenns, conditions, provisions or exclusions of the Policy, without

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regard to the authorship of the language and without any presumption in favor of

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either party.”) (“The “New York Law Clause”) effectively prohibits any arbitrators

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or court from awarding punitive damages or other extra contractual damages to the

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Insureds in this case not only because the Insureds’ “Insured Tax Loss” already

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exceeds $50,000,000 but also because New York law limits the power of any

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arbitrators with respect to the awarding of punitive damages and other extra-

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contractual recoveries

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49. Plaintiffs contend and allege that the Limitation Clause and the New

 

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anyone from res onsibili_ty for his own fraud, or willful injury tc the person or
property of anot er, or violation of law, whether willful or negligent, are against the
policy of the law."

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York Law Clause as interpreted by AlSLlC are illegal, unconscionable and
unenforceable and further allege that Plaintiffs are entitled to a judicial declaration
that that is the case and Plaintiffs request that any order that may be entered
compelling arbitration of any disputes between the parties provide that the neither
the Limitation Clause, nor the New York Law Clause nor any other provisions of
the Policy prohibit the arbitration panel from awarding damages (be those damages
compensatory, punitive, contractual or extra-contractual) in amounts in excess of the
$50,000,000 limit of the Policy if Plaintiffs damages are in fact proved to be in
excess of $50,000,000.
SECOND CAUSE OF ACTION
(Against AISLIC and DOES l through 10, inclusive,

for Breach of Insurance Contract)

 

50. Plaintiffs reallege paragraphs l through 49 above and incorporate them
in this Second Cause of Action as though fully set forth herein.

51. Plaintiffs have performed each of their obligations under the Policy or
such performance has been waived, suspended or excused Moreover, all conditions
precedent to AISLIC and Does l through 10’s performance of their obligations
under the Policy have occurred or have been waived.

52. AlSLIC’s repudiation of any obligation to provide any Policy benefits
to the Insureds is a material breach of the Policy which has or will damage Plaintiffs
in an amount not less than the $50,000,000 Limit of Liability provided for in ITEM
4 in the DECLARATIONS for the Policy and which may consequentially damage
the Insureds in the amount of millions of dollars by disrupting resolution of the
IRS’s Claim on the terms set forth in the April 7, 2005 Correspondencel

THIRD CAUSE OF ACTION
(Against AISLIC and DOES 1 through 10, inclusive,
for Tortious Breach of the Covenant of Good Faith and Fair Dealing)
53. Plaintiffs reallege paragraphs l through 52 above and incorporate them

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in this Third Cause of Action as though fully set forth herein.

54. AlSLlC and Does 1 through 10’s, inclusive, actions tortiously breached
the Implied Covenant inherent in the Policy as well as the explicit terms and
conditions of the Policy. As a proximate and legal result of AlSLlC and Does l
through lO’s, inclusive, breach of the Implied Covenant inherent iri the Policy,
Plaintiffs have suffered damages which include not only deprivation of the explicit
benefits provided for in the Policy but also in the form of costs and attomeys’ fees
which Plaintiffs have been forced to incur in order to recover the contractual
benefits under the Policy to which Plaintiffs are entitled. In addition Plaintiffs
anticipate suffering additional damages of millions of dollars as a result of AlSLlC
and Does 1 through 10’s refusal to pay Policy benefits to resolve the IRS’s claim
consistent with the April 7, 2005 Correspondence which Plaintiffs anticipate may
disrupt such a resolution.

55. AISLIC and Does 1 through lO’s, inclusive, actions have been
fraudulent and malicious and Plaintiffs are entitled to recover exemplary damages
therefore under Califomia Civil Code section 3294. Defendants’ actions were
malicious in that defendants intended those actions to cause injury to Plaintiffs and
those actions were despicable conduct carried on by the defendants with the willful
and conscious disregard for the rights of Plaintiffs to receive benefits under the
Policy. Defendants’ actions were fraudulent in that defendants misrepresented to
Plaintiffs that Plaintiffs were not entitled to benefits under the Policy with the
intention on the part of the defendants of depriving Plaintiffs of their legal rights
under the Policy and otherwise causing injury to Plaintiffs

56. Furtherrnore, the officers, directors and managing agents of AlSLlC
and Does 1 through 10, inclusive, acting within the course and scope of their
employment, have authorized and ratified the wrongful acts and conduct alleged
herein, and AlSLlC and Does l through 10 have themselves engaged in the

wrongful acts and conduct alleged herein which constitute oppression, fraud and

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57. Plaintiffs are entitled to recover punitive and exemplary damages from
AlSLlC and Does 1 through 10 in amounts sufficient to punish and make an
example of AISLIC and Does 1 through 10.

DEMAND FOR JURY TRIAL

Plaintiffs hereby demand a jury trial pursuant to rule 38 of the Federal Rules
of Civil Procedure.

Wl-IEREFORE, Plaintiffs pray for judgment in their favor and against
AlSLlC and Does l through 10, and each of them, as follows:

l. For the Declaratory Relief to which Plaintiffs allege they are entitled to
iri this complaint;

2. In the amount of compensatory damages, both special and general,
proved at trial;

3. ln the amount of exemplary damages proved at trial;

4. lf and to the extent provided for by applicable law, for attomeys’ fees
and costs incurred in this action;

5. For prejudgment interest in the maximum amount allowed by law from
the date such damages became due; and

6. For such further relief as the court in its discretion deems just and

 

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Dated: October 13, 2005 RUTAN & 'l`U ~P
By:
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Atto laintiffs and Petitioners
The _pIper Deck Company and Richard P.
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lSection 5 RETE_N'_I`ION provides: “The_lnsurer shall onl _be liable for the
amount of Loss which is _in excess of the retention amount state_ in ltem_$ of the
Declarations (the ‘Retention’) [$500,_000, in the aggregate]. This Retention shall be
carried by the Insureds at t_heir own risk and remain uninsured A sin le Retention
shall app y to all Loss arising from all Claims relating to the Insured ax Event.”

_ iiSection 2. DEFINITIQNS (p) “‘Policy’ means this Fiscal Event lnsurance
Policy agreed to and underwritten y the Insurer for the benefit of the lnsureds.”

_ "'Section 2 DEFINIT_IONS ‘[[ (i “‘Insareds’ means the _Narned Insured listed
in Item l_(a) of the Declarations andt e Addit_ional_ Insureds listed in Item l b of the
Declarations.” Item 1(a) of the Declarations identifies the NAMED INSU as
“th_e Upper Deck Company.” Item 1 b) identifies the _ADDITIONAL INSUREDS
as inclu ing “the MPR 'l`rust [and] r. Richard McWilliam."

l`:Section 2 DEFINITION_S 11 (p) “‘Policy Period’ means the period of time
shown in Item 33 of the Declarations, as the same may be extended pursuant to the
terms and conditions hereof.” Item 3 of the Declarations identifies the POLIC_Y
PERIO,D as “from Au_gust 29, 2001 to the lat_er of (t) November 30, 2006 or (11) the
expiration,of the applicable statute of limitations with respect to the _tax it_ems
described in the I_nsured Tax Event relatin to t_he transactions described ir_i the _
KPMGLLP o inions; rovided, however, t at in no event shall a policy with Policy
Penod expire ater than November 311, 21)10.”

"Section 2 DEFINI'I`IONS 1[&1) “‘Loss’ means 90% of Insured Tax Loss and,
to the extent directly related to any nsured Tax Loss, 90% of any Contest Expenses
and 90% of any Gross-Ups.”

"'Section 2 DEFl_NlTlONS 11 (j) “‘Insured Tax LoS_S’ means any Taxes,
Interest, fines or penalties owed by any Insured to a Taxing Authority directly
related_ to the Insured_Tax Event, sub ect to all of the termsz conditions and_
exclusions of the P_oli_cy.” Section_2 EFINITIONS 11 (s) ‘ ‘Taxes’ mean (i) any
fede_ral or Califomia income_ taxes imcposedb the Code or comparable rovision_s_ of
applicable Califomia law. (ii) any fe eral gt taxes imposed by the Co e, and (iii)

t e income taxes of any other state as_ to w_ ich the Insurer has extended coverage as
provided in Endorsement No. 2 of this Policy.” Section 2 DEFINITIONS _1] (h)
XIntlerest’ r]neans interest on an underpayment of Taxes assessed by a Taxing

ut ority.”

""Section 2 DEFINITI_ONS 11 (d) “_‘Contest Expenses’ means the reasonable
and necessary legal, accounting or a praisal_ expenses of outside legal and
accounting advisors and appraisers (i).e. advisors and appraisers that are not
employees of the Insured) con_ductin that part of a Conte_st which directly relates to
the Insured Tax Event, followtng the amed Insured havin given notice under
Cl_ause 6 of this Policy.” Section 2_DEFINI'1_`IONS 11 (c) “‘ ontest_’ means a dispute
with a Taxing Authorit over an adjustment in any Insured’s liability for its Taxes as
tt relates to an Insured ax Event for which the Insurer may be required to
indemnify the Insured hereunder.”

VlllSection 2 DEF_lNITIONS il (f`) “‘Gross-Ulp’ _means the amount b which a
payment under this Po_lic must be increased to ta e tnto account any fe eral or state
income taxes which will e imposed on any Insured in respect of such payment and
any Gross-Up payment.”

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_ ixSection 2 DEFIN_ITIONS 11 (g) “‘lncention Date’ means the first date listed
in Item 3 of the Declarations [August 29, 200 ].”

xSection 2. DEFINITIONS: “‘Code’ means the Intemal Revenue Code of
1986, as amended and in_effect as of the Inception Date and as the same may be
amended after the Inception Date but only to the extent such amendments have
retroactive effect.”

"'Section 2. DEFINITIONS ll (t) provides “"l`axin Authority’ means (i)_ the
Inten_i_al Revenue Service, (ii) the comparable authority o the State of Califomia
and (iii) the comparable authority of any other state as to w_hich t_he Insurer has
extended coverage as provided in Endorsement No. 2 of this Policy.”

""Section 2 DEFlNITIONS 11 (j) “‘lnsured Tax Lo_ss’ means any "l_`axes,
Interest, fines or penalties owed by any Insured to a Taxing Auth_o_rity directly
related to the lnsured_Tax Event, sub ect to all of the termsz conditions and_
exclusions of the P_oli_cy.” Section _2 EFlNITlONS 11 (s) ‘ ‘Taxes’ mean (i) any
federal or Califomia income taxes im osed b the Code or comparable rovision_s of
applicable Califomia law. (ii) any fe eral lg_i taxes imposed by the Co e, and (iii)

t e income taxes of any other state as_ to w' ich the Insurer has extended coverage as
provided in Endorsement No. 2 of this Policy.” Section 2 DEFINITIONS _1[ (h)
“Interest’ means interest on an underpayment of Taxes assessed by a Taxing

Authority.”]

’““Section 2 DEFINITlONS ll (d) ‘f‘Contest Expenses’ means the reasonable
and necessary legal, accounting or a praisal_ expenses of outside legal and
accounting advisors and appraisers i.e. advisors and appraisers that are not
employees of the Insured) con_ductingl`that part of a Contest which directly relates to
the Insured Tax Event, followtng the amed Insured having given notice under
Clause 6 o_f this Policy.” Section 2 _DEFINIT_IONS ‘|l (e) “‘ ontest_’ means a dispute
_with a Taxing Authorit over an adjustment in any Insured’s liability for its Taxes as
tt relates to an Insured ax Event for which the Insurer may be required to
indemnify the Insured hereunder.”

’“"Section 2_DEF_1NITIONS 11 (f) “‘Gross-Up’ means the amount b which a
payment under this Polic must be increased to ta e 1nto account any fe eral or state
income taxes which will e imposed on any Insured in respect of such payment and
any Gross-Up payment.”

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The JS 44 civil cover sheet and the information contained in neither replace nor supplement the filing and service of pl gs or other papers as required by law. except as provided
by local rules of court. 'liiis form. approved by the Judicial Conl`erence of the United Siaies in Sepiember 1974, is required for die use ofthe Cledt ofCoun for the purpose of initiating
the civil docket sheetl lSEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

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i. (a) PLAiNTiFFs DEFENDANTS ` ’ ‘ "-
THE UPPER DECK COMPANY, a Califomia corporation, and AMERICA.N INTER.NATIONAL SPEGIALITY L'INE
RlCHARD P. McWILLIAM, individually, and as Trustee for the MPR INSURANCE COMPANY; and DOES l th;o\ugh lit}, ineligst
Trust []501: 13 ll '

(b) cnnniy or Risidence annsi Lisied PlainiiirSan Di'ego cnnniy nr Rinidenne anirsi Lisied_____ ,_ . -i-

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i.xNi) mvoi.vao.
(e) Attorney’s {Firm Name, Addre¢s, and Teleplione Number) A“°meys ill K“°W“) Dl'T’L'l "

RicHARD x. HowELL """'

11 , - -- RBB)
restrain 11501 19151§@ l
Costa Mesa, CA 92626
(714) 641-5100

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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IV. NATURE OF SUIT (Place an “X" in One Box Only)
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Cite the U.S. Civil Statut under which you are filing (Do not cite-jurisdictional statutes unless diversiry):
28 USC section 133 28 USC section 1391 a
VI. CAUSE OF ACTION ( . . . ( )
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VII. REQUESTED lN |] cHEci<. iF riiis is A CLASS AcrioN DEMAND s cHECx vEs only it demanded in compiaini:
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VIII. RELATED CASE(S) . .
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October 13, 2005 RUTAN & TUCKER, LLPE 13 ,. §
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